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Attorney for Debtor(s)

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION
IN RE: §
CARLOS MARTINEZ DUNCKER Xxx-xx-0472 § CASE NO. 16-41520
6409 Brynwyck Lane §
North Richand Hills, Texas 76182 § CHAPTER 13
Debtor(s) §

 

 

DEBTOR’S MODIFICATION OF CHAPTER 13
PLAN AFTER CONFIRMATION

 

TO THE HONORABLE BANKRUPTCY JUDGE

Pursuant to 11 USC 1329 the Debtor requests the following modification(s) to the Debtor's
Conf`lrmed Chapter 13 Plan:

HISTORY OF CASE

Petition Date: 4/14/2016
Conflrrnation Date: 7/15/2016
Conf`lrrned Plan Base: $6,000.00
Conflrrned Plan Payrnent: $100.00 X 60
Total Paid In: $1,800.00
Outstanding Base Balance: $8,106.00
Conf`lrrned Plan Terrn: 60 months
Months Rernaining: 43 months

NOTICE TO ALL CREDITORS AND PARTIES IN INTEREST

 

THE CLAIM TREATMENT OUTLINED IN THIS MODIFICATION WILL
BE CONTROLLING AND WILL SUPERCEDE THE CLAIM TREATMENT
INDICATED ON THE PREVIOUSLY CONFIRMED OR MODIFIED PLAN.

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MODIFICATION(S) OF DEBTOR'S PAYMENTS TO TRUSTEE

Debtor’s monthly payment amount remains $100.00 per month for the next one (1) months,
then changes to $190.00 per month for the final forty-three (43) months.

The above changes(s) will result in a new "BASE AMOUNT" (total payments due to the
Trustee under the Plan, if all payments are timely made) of $10,03 1 .00.

Plan payments to the Trustee as listed above will resume on or before September 14, 2017

and every thirty (3 0) days thereafter.

l\/IODIFICATION OF PAYl\/IENTS TO CREDITOR(S)

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Change treatment of priority creditor, Internal Revenue Service, to provide for the

proofof claim filed on August 23, 2017 [Claims Register No. 3] to be $3,146.41 at 4%.

2. To cure plan arrears to the Trustee, if any.
5. Remove excess base language from plan.
6. All other provisions as set forth in the last confirmed plan remains the same.

DEBTOR'S ATTORNEY FEES

Debtor's attorney shall be allowed an additional fee for this Modification in

 

t'iI amount
of $400. 00, of which $0 has been paid direct to Debtors’ attorney and 113 0 llY"will be paid
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through the plan by the Trustee pro rata after payments Specified mt ilhly

other pro rata payments

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13 PLAN AFTER CONFlRl\/IATION

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Behrooz P V'da n

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CERTIFICATE OF SERVICE

 

l hereby certify that on the date on which above and forgoing instrument was filed
electronically, a true and correct copy of the instrument was served either electronically or via first
class mail on the parties indicated below.

Tim Truman Via ECF
Chapter 13 Trustee

6851 NE Loop 820 #300

Fort Worth, Texas 76180

Carlos Martinez Duncker Via US Mail
6409 Brynwyck Lane

North Richand Hills, Texas 76182

Internal Revenue Service Via US Mail
PO Box 7346

Philadelphia, PA 19114

Donna Webb, Asst US Attorney Via US Mail
801 Cherry St., Unit 4
Fort Worth, TX 76102

US Attorney D.O.J Via US Mail
l\/laXus Tower- Tax Division

717 N Harwood Suite 400

Dallas, TX 75201

U.S. Attorney Via US l\/Iail
Northern District of Texas

1100 Commerce St.

Dallas, Texas 75242

U.S. Attorney General Via US l\/Iail
Main Justice Building, Room 511 1

lOth & Constitution Ave., N.W.

Washington, D.C. 20530

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Internal Revenue Service

Sp. Proc.- Mail Code 5026 Dal
1100 Commerce Street, Room 300
Dallas, Texas 75242

Via US l\/Iail

  

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Behrooz

Carla R. Vida

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